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1

2    Peter SZANTO 949-887-2369
     11 Shore Pine
3    Newport Beach CA 92657

4
                           United States District Court
5                                 in and for the District of Oregon
                                   1000 SW Third Ave, Portland ORE 97204
6

7

8
       In Re:                                               # 3:20-mc-1070 SI
9

10                Peter SZANTO                                   Notice of Motion
11
                                                                     and Motion
12
                                                       1) For Leave to Respond to Appellees’
13
                                                              Absurd Speculation About Peter
14
                                                                       Szanto’s Finances
15

16
                                                    2) For Leave to Seek Striking of Scurrilous
17
                                                        Material Filed to Embarrass Peter Szanto
18

19
                                                    3) For Leave to Seek Sanctions Regarding
20
                                                                Violations of Singapore Law
21

22

23
                                                                   Hon. Judge Simon
24

25

26
                     1. Certification in Compliance with Local Rule 7-1(a)

27         This Court’s Motion Practice rule requires pre-motion party conferral. On
28   November 16, 2020 Peter Szanto telephoned Mr. Blackledge, who had appeared in this

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1

2    case through his associates, seeking discussion regarding matters related to the
3    scurrilous material he has filed. Szanto’s call went to voice mail. Szanto requested a
4    return call so that the his concerns could be discussed.
5

6          As of the close of business on 11/16/20, Szanto has received no return call.
7    Therefore, pursuant to LR 7-1(a)(1)(B), opposing counsel did not confer with Szanto.
8

9                                            2. NOTICE
10
           To the respondents and the Court, please take notice, the Court’s ORDER
11
     [Docket Entry # 13], contemplated Trustees’ response. However, no provision was made
12   related to Peter Szanto’s response to the Trustees’ absurd analysis of unrelated papers
13   from Singapore.

14
           Thereupon, comes now Peter Szanto seeking relief so as so respond to those
15
     matters filed in [Docket Entries 16 and 17].
16

17

18                                            3. FACTS

19
             First, and foremost, the Trustees have filed a number of documents from the
20
     litigation between these same parties in Singapore (Docket Entries 17-1 thru 17-7)
21

22
             Peter Szanto has nothing to hide in those documents.
23

24
             However, Singapore’s courts and Singapore law does not have any “public
25
     record” provision for placing documents from litigation into any PUBLIC RECORD.
26
     Only after the Singapore Supreme Court has been petitioned and granted leave for
27
     dissemination can documents be disclosed outside the action itself.
28


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1

2            That is, all Singapore Supreme filed court documents are filed under seal, until
3    a specific court order allows dissemination item-by-item (and never by the entire case).
4

5                 Nor does the Singapore legal system provide for any dissemination of filed
6    documents without court permission.
7

8                 Trustees have neither sought nor obtained Singapore Supreme Court leave of
9    court to file Exhibits 17-1 through 17-7 in this Court.
10

11            Thus, by filing the various Singapore court documents in this Court (such that
12   those documents are now PACER accessible to everyone in the world, those documents
13   are now completely public, without any privacy restriction), Mr. Backlidge committed a
14   contempt upon not merely contra party Szanto, but also upon the justice of the
15   Singapore Supreme Court hearing the matter, as well as, the people of Singapore..
16

17                Peter Szanto asks leave further to elucidate this matter with view toward the
18   possibility and appropriateness of this Court taking immediate action regarding the plain
19   fact that a member of the Oregon bar, an officer of this Court, intentionally committed
20   contempt upon the Supreme Court of Singapore (a separate and sovereign nation) by
21   the intentional placing of sealed material without the Singapore Supreme Court’s leave
22   or permission into the worldwide public record!!
23

24                Second, the speculation regarding Peter Szanto’s finances makes numerous
25   obscene and absurd speculations regarding chemotherapy.
26

27                Indeed, it is impossible to comprehend the correlations to Peter Szanto’s
28   finances which are being attempted:

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1

2                 a) Peter Szanto must travel to Las Vegas and Phoenix for chemotherapy
3                    because clinics closer to Peter Szanto are overwhelmed with Covid.
4                    The suppositions made by Trustees are simply unclear corelates as to
5                    Peter Szanto’s financial life. For example, the fact that Peter Szanto
6                    travels to receive chemotherapy does not mean he has discretionary
7                    income. Rather it means Peter Szanto takes the free gamblers special
8                    bus for seniors to Las Vegas. Then, because he has no money to
9                    gamble, he walks to the chemotherapy clinic for treatment.
10

11                   Trustees’ tortured effort to paint these events in the light of hidden
12                   funds is heinous and portends another FRCP 11 motion for such
13                   knowing disgraceful outrage!!
14

15

16                b) Peter Szanto’s duties in the Israeli Defense Force (IDF), after 55 years
17                   of service, are of a supervisory and leadership nature. The need to have
18                   chemotherapy does not constrain Szanto’s IDF obligations nor the
19                   performance of his duties.
20

21                   Indeed, the speculation about Peter Szanto’s chemotherapy is merely
22                   another obscene aspect of the manner in which Trustees battle with
23                   reality. Chemotherapy, intravenous chemical medical treatment, is
24                   necessary for Peter Szanto to stay alive.
25

26                   Are Trustees attempting a correlation between obtaining necessary
27                   medical treatment and having undisclosed income ? What is the point
28                   they seek to establish beyond pure ridiculous speculation??

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1

2                 c) Travel to Israel meant for IDF active duty is provided by the IDF. IDF
3                    planes, hundreds of times a day, fulfill many tasks around the world. IDF
4                    planes daily arrive and depart from Los Angeles (30 miles from Szanto’s
5                    home). A seat on any IDF plane, without charge, is always available to
6                    an IDF officer travelling to Israel to fulfill his military obligations.
7

8                 d) Peter Szanto’s Aunt celebrated her 100th birthday this year. She is a
9                    holocaust survivor, a veteran of 3 of Israel’s wars, a military advisor to
10                   Israel’s cabinet, a renowned archaeologist (called on by many groups:
11                   freeway contractors, freeway opponents and theologians to make certain
12                   that roads and buildings do not desecrate holy places).
13

14                   The birthday party was attended by hundreds of people whose lives
15                   she has bettered, including Peter Szanto’s. To have missed that party,
16                   regardless of Covid would have been unthinkable.
17

18                    There was no cost to travel because Peter Szanto travelled by his IDF
19                    credentials and co-ordinated his service commitment with the party.
20

21                     Without charge, while in Israel, Szanto stayed either at his Aunt’s
22                     house or at military barracks. What is Trustees’ contra contention?
23

24                    In sum, it is impossible to comprehend, what argument related to Peter
25                    Szanto’s finances or ability to afford counsel is being made.
26

27

28


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1

2                 e) Trustees, in their accusation at (DE 16, p. 4):
3                     Debtor suggests that he is able to work, in his most
                      recent filing, if it were not for the appeals, but leaves
4                     open the question of whether he is working at all and if
                      he was working until the appeals became overwhelming,
5                     when and where he was working.

6
                      The requirement of IFP form was to list income and resources.
7
                       What is Peter Szanto accused of doing or not having done?
8

9
                  f) In Trustees’ EXHIBIT 6, Szanto wrote:
10

11                        I have practiced law in 5 nations where the common law was
                          foundational to fundamental freedom, essential fairness and
12                        the equitable administration of justice.

13
                     This is a statement made in the past tense. Something having occurred.
14
                     Instead, Trustees misconstrue and misrepresent to this Court at
15
                      (DE 16, p. 4):
16
                         As revealed by Exhibit 6, Debtor is a practicing attorney
17                       in five different nations. Yet this was not disclosed in his
                          bankruptcy schedules.
18

19
                      Irrespective of Trustees effort to mislead, Szanto averred no current
20
                      attorney licensure. Therefore, in 2016 there was no bankruptcy
21
                      disclosure which was required.
22

23
                       The question to the Trustees is: beyond butchering plain English
24
                       statements, what financial analysis points are being made??
25

26
                  g) Then at (DE 16, p. 5) comes the Trustees’ greatest absurdity:
27

28


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1

2                 Taken together, the exhibits authored by Debtor and filed with
                  various Courts, reveal a lack of credibility concerning both the
3                 Debtor’s actions and the Debtor’s financial status.

4
                  Again !! – Trustees are merely conclusory to create an abstraction of
5
                  reality!! What precise statement of Peter Szanto’s lacks credibility ?
6
                  How does it lack credibility? What statement contradicts what other
7
                   statement?
8

9
                  The Trustees statements are grossly abusive, because suggestions are
10
                   made which are not even supported by innuendo.
11

12
                   And lastly, what objective financial analysis is offered ? NONE!!
13

14
                            a. Requests
15

16
                  Thereupon, Peter Szanto asks the Court to consider striking [DE 16 and 17]
17
     as highly scurrilous and non-responsive to any objective financial inquiry.
18

19
                  Second, additional time is requested to perfect an application regarding
20
     the Trustees’ contemptuous act against the laws of the Nation of Singapore by placing
21
     sealed material into the public record.
22

23
                   Third, an extension is requested to file a more thorough response to the
24
     many absurd efforts to mislead this Court in Docket Entry 16 and 17]
25

26

27

28


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1

2                                              4. Conclusion
3

4
                  Extension of time is prayed fully to respond to the Trustees’ diatribe which

5
     failed to offer any objective financial analysis.

6

7                  Most Respectfully,

8

9
                    Dated 16 November 2020 /s/ signed electronically Peter Szanto
10

11                                           Proof of Service
12
               My name is Maquisha Reynolds, I am over 21 years of age and not a party to
13      the within action. My business address is PO Box 14894, Irvine CA 92623. On the
14      date indicated below, I personally served the within: Motion by e-mail to contra

15      parties at:

16
                                        1) United States Bankruptcy Court
17                                             1050 SW Sixth Avenue # 700

18                                                Portland OR 97204

19
                                        ‘2) Gary L. Blacklidge
20                                              Jordan Ramis PC
                                                2 Centerpointe Drive, 6th Floor
21                                              Lake Oswego, OR 97035

22
          I declare under penalty of perjury under the laws of the United States that the
23
     foregoing is true and correct. Signed at Irvine CA.
24

25
                   Dated November 16, 2020 /s/ signed electronically Maquisha Reynolds
26

27

28


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